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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                          Case No.: 15−21138−CMG
                                          Chapter: 11
                                          Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Marcelo D. Costa                                         Marla Perry Martins
   16 Chimney Court                                         16 Chimney Court
   Laurence Harbor, NJ 08879                                Laurence Harbor, NJ 08879
Social Security No.:
   xxx−xx−3119                                              xxx−xx−3825
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that is discharged as trustee of the estate of the above named debtor(s) and the bond is canceled;
and the case of the above named debtor(s) is closed.


Dated: June 26, 2017                         Christine M. Gravelle
                                             Judge, United States Bankruptcy Court
